            Case 1:22-cv-04410-ALC Document 7 Filed 07/01/22 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                          x
 KEVIN DAVIS, Individually, and On Behalf : Case No.: 1:22-cv-04410-ALC
of All Others Similarly Situated,         :
                                          :
                              Plaintiff,  :
        vs.                               :
                                          :
                                          : NOTICE OF SETTLEMENT
ANIMAL CARE EQUIPMENT & SERVICES :
                                          :
LLC,
                                          :
                              Defendant.  :
                                          :
                                          x


       Plaintiff Kevin Davis (“Plaintiff”) hereby notifies the Court that the present case has settled

between Plaintiff and defendant Animal Care Equipment & Services LLC (“Defendant”)

(collectively, the “parties”), and states as follows:

       1.      A settlement agreement is in the process of being finalized between the parties.

Once the settlement agreement is fully executed, and Plaintiff has received the consideration

required, the parties will respectfully request that the case be dismissed and closed.

       2.      The parties respectfully request that the Court stay this action and adjourn all

deadlines and conferences.



DATED: July 1, 2022                            MIZRAHI KROUB LLP


                                                              /s/ Edward Y. Kroub
                                                             EDWARD Y. KROUB
Case 1:22-cv-04410-ALC Document 7 Filed 07/01/22 Page 2 of 2




                           EDWARD Y. KROUB
                           JARRETT S. CHARO
                           WILLIAM J. DOWNES
                           200 Vesey Street, 24th Floor
                           New York, NY 10281
                           Telephone: 212/595-6200
                           212/595-9700 (fax)
                           ekroub@mizrahikroub.com
                           jcharo@mizrahikroub.com
                           wdownes@mizrahikroub.com

                           Attorneys for Plaintiff




                            -2-
